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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, and JOHN DOE

                         Plaintiffs,

  v.                                                           Civil Action No.: 3:17CV00072

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES ALEX
  FIELDS, JR., VANGUARD AMERICA,
  ANDREW ANGLIN, MOONBASE
  HOLDINGS, LLC, ROBERT “AZZMADOR”
  RAY, NATHAN DAMIGO, ELLIOTT
  KLINE a/k/a ELI MOSELEY, IDENTITY
  EVROPA, MATTHEW HEIMBACH, MATTHEW
  PARROTT a/k/a DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-KNIGHTS,
  MICHAEL “ENOCH” PEINOVICH, LOYAL
  WHITE KNIGHTS OF THE KU KLUX KLAN,
  and EAST COAST KNIGHTS OF THE KU KLUX
  KLAN a/k/a EAST COAST KNIGHTS OF THE
  TRUE INVISIBLE EMPIRE,

                         Defendants.

    SUPPLEMENTARY BRIEF REGARDING FEASIBILITY OF TRIAL OCTOBER 15 –
           NOVEMBER 19, 2021 AT CHARLOTTESVILLE COURTHOUSE

          COMES NOW JAMES ALEX FIELDS, by and through Counsel, files this, his

  supplemental brief regarding the feasibility of conducting the trial as scheduled, and in support

  thereof, states as follows:
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      1. What is an optimal and manageable footprint for the litigants, attorneys and staff for each

          side in the courtroom?

      Counsel intends to file a motion asking the Court transport Fields to trial for the duration of

  the trial. Pending the outcome of that motion, Fields and counsel or counsel alone will be the

  lone representative at trial. Fields suggests that given the number of litigants (represented and

  unrepresented) and at least four defense counsel on the defense side that counsel table will not be

  sufficient. As such, Fields requests the Court clear at least five rows of the gallery on

  Defendant’s side of the courtroom for defense counsel, litigants, and documents/file materials.

      Further, Fields, by counsel, suggests that all media and observers should be remote in another

  room in the courthouse and permitted to observe via video feed conducted only by employees

  and IT staff of the Western District of Virginia. Outside public observation raises security risks

  and will only heighten and inflame the circumstances of the trial and possibly make it more

  difficult to seat a jury in Charlottesville.

      2. What is an efficient and manageable footprint of the trial in the courthouse?

      Given the narrow hallways and limited elevator and stair access to the Court, Fields is unsure

  of how this can be safely accomplished in the Charlottesville Courthouse. Should the Court

  desire to maintain both the current trial date and location, we suggest alternate entrances/exits for

  counsel and litigants and perhaps staggered timing of the entry of counsel and litigants prior to

  admission of press and members of the public. For example, if litigants and counsel were

  permitted entry half an hour prior to members of the public or press entry to the Charlottesville

  Courthouse.

      Fields is amenable to a joint defense breakout room. Fields opposes any third party vendors

  or other parties operating any audio/video equipment for video access to the proceedings in the

  Charlottesville Courthouse other than employees of the Western District of Virginia. We further

  oppose any video access to the proceedings beyond the premises of the courthouse, as this would

  only increase safety and security concerns for all involved.
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     While in the criminal context, Courts have found that partial closures due to COVID-19 and

  similar issues do not require constitutional scrutiny and “that the Court merely need find a

  substantial reason for the partial closure.” United States v. Fortson 2020 U.S. Dist. LEXIS

  142500, * 3, 4 (D. Ala. 2020). As there is no Constitutional issue present here in this civil matter

  and the number of parties and counsel as well as witnesses and court personnel are large, Fields

  requests that the Court permit only attendance by press and public in a separate viewing room or

  rooms in the courthouse.

     3. Reflecting the considerations above and other relevant considerations, whether the

         Charlottesville Federal Courthouse is the best equipped and most suitable courthouse at

         which to hold this trial.

     Fields, by counsel, believes that due to size, space, security, access and other considerations,

  the Lynchburg (ideally) or Roanoke Federal Courthouses would be better equipped and more

  suitable to hold this trial. To the extent Plaintiffs argue that there are financial considerations

  due to travel reservations previously made, this is irrelevant and should not be considered by the

  Court in this determination. The health and safety of trial participants, court personnel, the

  public, and the jury must be the primary concern.

     4. Steps that have been and can be taken in a pretrial posture, either by way of meet-and-

         confer with the opposing parties, or under the auspices of the magistrate judge, to narrow

         the issues in genuine dispute and to enter into stipulations as to agreed facts.

     Fields, by counsel, has had extensive discussions with Plaintiffs’ counsel and reached

  agreement on stipulations to authenticity and foundation of hundreds of documents in order to

  narrow the disputes at trial and avoid witnesses for mere foundation of various documents. Until

  witness and exhibit lists are exchanged, counsel cannot fully prepare for issues such as

  duplicative and redundant documents and repetitive testimony of witnesses. Following the

  exchange of witness and exhibit lists, Fields suggests a meet-and-confer followed by a virtual or

  telephonic hearing to resolve such issues.
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     Wherefore, Fields asks this Court exercise its discretion and facilitate a safe, fair, efficient,

  and expeditious trial as the Court sees fit.


                                                         Respectfully submitted,


                                                         JAMES ALEX FIELDS, JR.
                                                         By Counsel


                                                         ________/S/_________________________
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                                     CERTIFICATE OF SERVICE


         I hereby certify that on __11__th day of June, 2021, I electronically filed the foregoing with
  the Clerk of Court using the CM/ECF system which will send notification of such filing to the
  following:


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          I further certify that on June 11, 2021, I also served the following non-ECF participants,
  via regular or electronic mail as follows:
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